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                                      MINUTES



 CASE NUMBER:             CR NO. 17-00101LEK
 CASE NAME:               USA vs. (01) ANTHONY T. WILLIAMS
 ATTYS FOR PLA:
 ATTYS FOR DEFT:
 INTERPRETER:


       JUDGE:      Leslie E. Kobayashi            REPORTER:

       DATE:       4/15/2019                      TIME:


COURT ACTION: EO: COURT ORDER GRANTING, OVER DEFENDANT’S
OBJECTIONS, THE GOVERNMENT’S MOTION TO CONTINUE HEARING AND
DEADLINE TO RESPOND TO DEFENDANT’S MOTION FOR SUPPRESSION OF
EVIDENCE

      On March 19, 2019, pro se Defendant Anthony T. Williams (“Defendant”) filed his
Motion for Suppression of Evidence (“Motion to Suppress”). [Dkt. no. 437.] The Motion
to Suppress is currently scheduled for hearing on April 18, 2019. Plaintiff the United States
of America’s (“the Government”) deadline to file its response to the Motion to Suppress
was April 4, 2019. See Crim. Local Rule LR12.2(d).

       On April 5, 2019, the Government filed a motion seeking a continuance of the
hearing on the Motion to Suppress and an extension of the deadline to file its response
(“Motion to Continue”). [Dkt. no. 449.] On April 10, 2019, Defendant filed two
documents, which appear to be identical, opposing the Motion to Continue. [Dkt. nos. 457,
458.] In particular, Defendant states he has two witnesses who have already made
arrangements to appear at the April 18, 2019 hearing to testify. Defendant argues he would
be prejudiced if the hearing is moved and the witnesses are unable to make arrangements to
appear on the new hearing date. [Dkt. no. 457, Decl. of Counsel, Exh. A (opposition
prepared by Defendant) at 2.]

       The Court notes that the better practice would have been for the Government to file
the Motion to Continue before the expiration of the deadline to file its response to the
Motion to Suppress. Nevertheless, the Court FINDS that the Motion to Continue presents
good cause to continue the hearing on the Motion to Suppress and to extend the briefing
deadlines. The Motion to Continue is therefore GRANTED, over Defendant’s objections.
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       The hearing on the Motion to Suppress is HEREBY CONTINUED to May 10,
2019, at 2:30 p.m., unless Defendant’s witnesses are not available on that date. If
Defendant’s witnesses are not available, the hearing will be rescheduled to a date when the
witnesses are available.

       The Court ORDERS Defendant to file a statement, by April 29, 2019, that:
1) identifies the witnesses who were scheduled to appear at the original April 18, 2019
hearing; 2) states whether the witnesses are available to testify at the May 10, 2019
hearing; and 3) if the witnesses are not available on May 10, 2019, identifies two alternate
hearing dates and times when the witnesses would be available.

       The deadline for the Government’s response to the Motion to Suppress is now due
by April 26, 2019. If Defendant chooses to file an optional reply in support of the Motion
to Suppress, he must do so by May 3, 2019. If the hearing on the Motion to Suppress is
rescheduled to accommodate Defendant’s witnesses, the new hearing date will not affect
these briefing deadlines.

       IT IS SO ORDERED.

Submitted by: Warren N. Nakamura, Courtroom Manager
